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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Harrisonburg Division


   CONSUMER FINANCIAL PROTECTION
   BUREAU, et al.,

        Plaintiffs,

   v.                                                      Case No.: 5:21-cv-00016-EKD-JCH

   NEXUS SERVICES, INC., et al.,

        Defendants.


     PLAINTIFF CONSUMER FINANCIAL PROTECTION BUREAU’S NOTICE OF
    SUPPLEMENTAL AUTHORITY IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO
          DEFENDANTS’ MOTION TO STAY EXECUTION OF JUDGMENT

           Plaintiff the Consumer Financial Protection Bureau writes to notify the Court of the

  Supreme Court’s decision in CFPB v. Community Financial Services Ass’n of Am., Ltd., No. 22-

  448, 2024 WL 2193873 (U.S. May 16, 2024) (“CFSA”), which squarely forecloses an argument

  raised in Defendants’ pending motion for a stay pending appeal.

           In CFSA, the Supreme Court—with Justice Thomas writing for a seven-justice

  majority—rejected the same attack on the Bureau’s statutory method of funding that Defendants

  here unsuccessfully tried to raise in their untimely motion for judgment on the pleadings, and

  that they now say supports their request for a stay pending appeal. See Mem. Op. & Order

  Denying Recon. at 10, ECF No. 226 (affirming decision to deny motion with funding challenge

  as moot, but explaining that Court would reject challenge on the merits if it were to reach the

  question); Br. in Supp. of Mot. Stay at 15, ECF No. 250 (calling Bureau’s statutory funding

  mechanism a “serious and novel” question on appeal). The Supreme Court’s decision in CFSA

  forecloses Defendants’ argument and affirms the validity of the Bureau’s funding. Relying on

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  constitutional text and history, the Court explained that “appropriations need only identify a

  source of public funds and authorize the expenditure of those funds for designated purposes to

  satisfy the Appropriations Clause.” CFSA, 2024 WL 2193873, at *5. It had no difficulty

  concluding that “[t]he Bureau’s funding statute contains the requisite features of a congressional

  appropriation” and “fits comfortably with the First Congress’ appropriations practice.” Id. at *9.

  The Court thus affirmed “that the requirements of the Appropriations Clause are satisfied” by the

  Bureau’s statute. Id. It accordingly reversed the contrary judgment of the Fifth Circuit that

  Defendants have relied on here. See id. at *12.

         CFSA therefore confirms that Defendants cannot succeed on the merits of their challenge

  to the Bureau’s method of funding, and that challenge cannot support Defendants’ bid for a stay

  pending appeal.



  Dated: May 20, 2024               Respectfully submitted,

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